Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 1 of 13

MM UE MUL elee Lela CoMie etal diam Uatsmor: (tee

United States Bankruptcy Court for the:

_District_ istrict of Delaware
(State)

Case number (ir known) Chapter _!1 ( Check if this is an
amended filing

 

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/16

If more space {s needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (If known), For more Information, a separate document, /nstructions for Gankruptcy Fornis for Non-Individuals, is avatlable.

4. Debtor's name LMCHH PCP LLC

 

2. All other names debtor used
in the iast 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor's federal Employer 26-2708 569
Identification Number (EIN) I

 

 

 

 

 

4, Debtor's address Princlpal place of business Mailing address, If different from principal place
of business
64030 Hwy 434
Number Street Number Street
P.O. Box

 

 

Lacombe, LA_70445
City . State ZIP Code City State ZIP Code

 

Location of principal assets, If different from
principal place of business

St. Tammany Parish

 

 

 

 

 

 

 

Coun
cunty Number Street
City State ZIP Code
6. Debtor's website (URL) www, louisianaheart.com
&. Type of debtor [/] corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(} Partnership (excluding LLP)
C) other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 2 of 13

Case number (if knowa)

 

Debtor LMCHH PCP LLC
Name

 

7, Describe debtor's business

A. Check one:

[¥] Health Care Business (as defined in 11 U.S.C. § 101(27A))
CQ] Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
C) Railroad (as defined in 14 U.S.C. § 101(44))

CQ) Stockbroker (as defined In 11 U.S.C. § 101(53A))

©} Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO] Clearing Bank (as defined in 14 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:
C1 Tax-exempt entity (as described in 26 U.S.C. § 501)

( Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CJ Investment advisor (as defined in 15 U.S.C: § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto-/Avwww.uscourts.aov/four-digil-national-association-naics-codes .

 

62 214
6. Under which chapter of the Check one:
Bankruptcy Code Is the
debtor filing? Cd Chapter 7
CQ) Chapter 9

(chapter 14. Check aif that apply.

O) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and-every 3 years after.that),

(J The debtor is ‘a small business debtor as defined in 14 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operatloris, cash-flow statement, and federal income tax return or if-all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Q) A plan is being filed with this petition.

OQ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1426(b).

Q) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securitles and Exchange Commisslon according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CQ) The debtor is a shell company as defined in the Securitles Exchange Act of 1934 Rule

 

 

 

 

42b-2,
O) chapter 12
9. Were prior bankruptcy cases [7]No
filed by or against the debtor
within the last 8 years? Ch Yes. District When Case number
MM/ DD/YYYY
If more than 2 cases, attach a a
separate list. District When Case number
MM/ DD/YYYY
10. Are any bankruptcy cases QO No Louisiana Medical Center and Heart
ending or being filed by a :
pusinecs partnes oran y [Z]Yes. ceptor Hospital , LLC _alationship Parent Company

affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

 

District Delaware When 01/ 30/2017

MM / DD /YYYY
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 3 of 13

Debtor LMCHH PCP LLC Case number (if known),

11. Why is the case filed in this Check aif that apply:

district?
[/] Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a Jonger part of such 180 days than in any other
district.

LJ A bankruptey case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own or have = [/]No
possession of any real
property or personal property

that needs immediate Why does the property need Immediate attention? (Check all that apply.)
attention?

QO] Yes. Answer below for each property that needs immediate attention. Attach additional sheets If needed.

(J it poses ar is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

(J Itneeds to be physically secured or protected from the weather.

( it inctudes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

\s the property insured?
CO} No

CJ. Yes. insurance agency

 

Contact name

 

Phone

a Statistical and administrative Information ,

13. Debtor's estimation of Check one:
available funds

 

 

(2 Funds will be available for distribution to unsecured creditors.

1 Atter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

C3 4-49 [7] 1,000-8,000 O) 25,001-50,000

14, Estimated number of 2 50-99 Q) §,001-10,000 ©) 50,001-100,000

creditors OQ) 100-199 ©) 10,001-25,000 C] More than 100,000
CQ) 200-999
Q) $0-$80,000 [¥]$1,000,004-$10 million CJ $600,000,001-$1 billion

18. Estimated assets © $50,001-$100,000 C) $10,000,001-$50 million © $1,000,000,001-$10 billion
CJ $100,001-3500,000 Q) $50,000,001-$100 million C2) $140,000,000,001-350 billion
(2 $500,001-$1 million C) $100,000,001-$800 million CL} More than $59 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 4 of 13

LMCHH PCP LLC

Name

Debtor Case number (it known),

() $0-$50,000 (2 $1,000,001-$10 million

() $50,001-$100,000 C2 $10,000,001-$50 million
() $100,001-$500,000 {] $50,000,001-$100 million
O $500,001-$1 million [¥]$100,000,001-$500 million

a Request for Rellef, Declaration, and Signatures
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

{J $500,000,001-$1 billion

() $7,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
Q] More than $50 billion

46. Estimated liabllities

 

17. Declaration and signature of == The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of petition

debtor
@ | have been authorized to file this petition on behalf of the debtor.

= | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing {s true and correct.
01/30/2017
MM “INYYY
re
x CO

Signature of authorized representative of debtor

Executed on

Neil F. Luria

Printed name

Tite Chief Restructuring Officer

x L1G alae ot

 

 

 

 

 

 

 

 

 

 

18. Signature of attorney 01/30/2017
Signatur f attomey for debtor MM /DD /YYYY
Joel A. Waite
Printed name
Young Conaway Stargatt & Taylor LLP
Firm name
Rodney Square, 1000 North King Street
Number Street
Wilmington DE 19801
City State ZIP Code
(302) 571-6600 jwaite@ycst.com
Contact phone Email addrass
2925 Delaware
Bar number State

 

Official Form 201

Voluntary Petition for Non-Individuals Filing far Bankruptcy

page 4
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 5 of 13

UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
In re ) Chapter 11
)
LMCHH PCP. LCC, et al.,' ) Case No. 17-
)
) Joint Administration Pending
Debtors. )

 

LIST OF EQUITY SECURITY HOLDERS

LMCHH PCP LLC, a Delaware limited liability company (the “Physicians Group”), debtor and
debtor in possession in the above-captioned case, hereby submits the list of equity security holders
of the Physicians Group. The list is prepared in accordance with Fed. R. Bankr. P. 1007(a)(1) and

(3).

 

 

 

 

Name Address Ownership
Louisiana Medical Center 64030 Hwy 434 95%
and Heart Hospital, LLC Lacombe, LA 70445
CCG of Louisiana, LLC c/o Cardiovascular Care Group | 5%
3322 West End Ave., 11" Floor
Nashville, TN 32703

 

 

 

 

 

The last four digits of the taxpayer identification numbers for each of the Debtors follow in parenthesis:

(i) LMCHH PCP LLC (8569); and (ii) Louisiana Medical Center and Heart Hospital, LLC (7298). The mailing
address for both of the Debtors is 64030 Highway 434, Lacombe, LA 70445.
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 6 of 13

DECLARATION CONCERNING THE DEBTORS’
LIST OF EQUITY SECURITY HOLDERS

I, Neil F. Luria, CRO of LMCHH PCP LLC and Louisiana Medical Center and
Heart Hospital, LLC, declare under penalty of perjury that I have reviewed the foregoing
List of Equity Security Holders and that the information contained therein is true and
correct to the best of my information and belief.

Dated: January 30, 2017

Zam

Neil P’ Luria, CRO

LMCHH PCP LLC
-and-
Louisiana Medical Center and Heart Hospital, LLC

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 7 of 13

RESOLUTION OF THE MEMBERS OF LMCHH PCP, LLC
AUTHORIZING FILING OF CHAPTER 11 PETITIONS

As of January 19, 2017

‘The- Members of LMCHH PCP, LLC, a Delaware limited liability company —

(“LMCHH PCP”), having conducted a meeting on January 19, 2017, hereby resolve:

WHEREAS, the Members have determined that LMCHH PCP does not have
sufficient funds to pay its debts and does not have the ability to refinance such debts or
obtain additional operating capital, and it has been proposed that LMCHH PCP file a
petition seeking relief under the provisions of Chapter 11 of Title 11 of the United States
Code (the “Bankruptcy Code”). It is hereby

RESOLVED, that in the judgment of the Members, it is in the best interests of
LMCHH PCP, its creditors, and other interested parties, that LMCHH PCP file a petition
seeking relief under the provisions of Chapter 11 of the Bankruptcy Code; and it is

FURTHER RESOLVED, that Neil Luria of SOLIC Capital Advisors, LLC, as the
individual duly appointed by the Board of Directors as Chief Restructuring Officer
(“CRO”) vested with the exclusive possession, custody, and control as Manager of
LMCHH PCP, is authorized to file a bankruptcy case for LMCHH PCP, and to make all
decisions and take all actions in connection therewith including, without limitation, sell
the assets of LMCHH PCP, wind down the operations of LMCHH PCP, reject contracts,
obtain debtor in possession financing, retain a claims agent, counsel, and other financial
advisors and assistance, and take such other and further actions are may be necessary or
appropriate with respect thereto; and it is

FURTHER RESOLVED, that the CRO, and.such other officers as the Members
shall from time to time designate, with the assistance of retained professionals as
appropriate and necessary, be, and they hereby are, authorized and empowered (i) to seek
and pursue the financing needs of LMCHH PCP, including debtor-in-possession
financing and exit financing in connection with any bankruptcy filing and (ii) to seek
alternate financing, including debtor-in-possession financing and exit financing in
connection with any bankruptcy filing, from any other source; and

FURTHER RESOLVED, that the law firms of Alston & Bird LLP, One Atlantic
Center, 1201 West Peachtree Street, Atlanta, GA 30309-3424; and Young, Conaway
Stargatt & Taylor LLP, The Brandywine Building, 1000 West Street, 17 Floor,
Wilmington, Delaware 19801, are authorized to be employed as counsel for LMCHH
PCP and its affiliated entity in connection with the bankruptcy case of Louisiana Medical
Center and Heart Hospital, LLC, for the purposes of their respective Chapter 11 cases and
otherwise; and it is

FURTHER RESOLVED, that Neil Luria, as CRO, is authorized and empowered
to execute and file all petitions, schedules, lists, and other papers and to take any and all
action that he may deem necessary or proper to commence and administer the Chapter 11

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 8 of 13

case, and retain and employ all assistance by attorneys, investment bankers, accountants
and other professionals that he may deem necessary or proper with a view to the
successful administration of the Chapter 11 case; and it is

FURTHER RESOLVED, that Neil Luria be, and hereby is, authorized,
empowered, and directed to take all other actions and to do all other things in addition to
the execution and delivery of documents as he, in his discretion, may deem necessary or
desirable and in the best interests of LMCHH PCP in connection with the foregoing
resolutions, this taking of any such action or his doing of any such thing for and on behalf
and in the name of LMCHH PCP to be conclusive evidence that he did so deem the same
to be necessary or desirable and in the best interests of LMCHH PCP.

IN WITNESS WHEREOF, the undersigned has caused this Certificate to be
executed by the manual or facsimile signature of the Members and its corporate seal to be
impressed or printed heron and attested to by the manual signature of its Secretary.

MEMBERS:

Louisiana Medical Center and Heart
Hospital, LLC

By: CCG of Louisiana, LLC, as Manager

Cet Sin.

Name: Rob Stilwell
Title: Chief Financial Officer

CCG of Louisiana, LLC

ind wut Shera

Name: Rob Stilwell
Title: Chief Financial Officer

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 9 of 13

RESOLUTION OF THE BOARD OF DIRECTORS OF
LOUISIANA MEDICAL CENTER AND HEART HOSPITAL, LLC
APPOINTING A CHIEF RESTRUCTURING OFFICER

January 19, 2017

The Board of Directors of Louisiana Medical Center and Heart Hospital, LLC, a North
Carolina limited liability company (“LHH”), conducted a meeting on January 19, 2017, at which
a quorum, as defined by LHH’s Operating Agreement,' of the members of the Board of Directors
was present, at which the Board resolved as follows:

WHEREAS, the Board of Directors, having considered the current assets, liabilities, and
overall financial condition and performance of LHH, and having determined that LHH cannot fund
continued operations without reliance on third party financing, and having further determined that
such third party financing is unavailable;

WHEREAS, the Board of Directors believe it is in the best interest of LHH to appoint a
Chief Restructuring Officer (“CRO”) to be vested with exclusive possession, custody, and control
as Manager of LHH without requiring further approval from the Board of Directors in order to
oversee the continued operations of LHH and make financial and operational decisions on its
behalf including, but not limited to, implementing the authorization of the Board of Directors to
file a bankruptcy case for LHH and for its affiliate company, LMCHH PCP, LLC (““LMCHH
PCP”) and making all decisions and taking all actions in connection therewith including, without
limitation, selling the assets of LHH or LMCHH PCP, winding down the operations of LHH or
LMCHH PCP, rejecting contracts, obtaining debtor in possession financing, retaining counsel and
other financial advisors and assistance, and taking such other and further actions are may be
necessary or appropriate with respect thereto;

WHEREAS, the Board of Directors agree that the. appointment of the CRO is in the best
interest of LHH and LMCHH PCP and their respective Members. It is hereby

RESOLVED, that the Board of Directors hereby approves of the appointment of a CRO
vested with all authority of the Board of Directors and Manager under the Operating Agreement,
including implementing the authorization of the Board of Directors to file a bankruptcy case for
LHH and for its affiliate company, LMCHH PCP, and making all decisions and taking all actions
in connection therewith including, without limitation, the ability to reject contracts, obtain debtor
in possession financing, retain counsel and other financial advisors and assistance, sell, restructure,
or liquidate LHH or LMCHH PCP; and it is

FURTHER RESOLVED, that the Board of Directors grants the CRO exclusive possession,
custody, and control as Manager of LHH, without requiring further approval from the Board of
Directors, in order to act on LHH’s behalf, with such appointment and transfer of authority to be

 

Capitalized terms used herein but not otherwise defined herein shall have the meanings
ascribed to them in the Amended and Restated Operating Agreement of the Company dated
November 2014, as amended (the “Operating Agreement”).

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 10 of 13

effective as of 8:00 a.m. on Monday, January 23, 2017, subject to the condition of acceptance by
the CRO of such authority, duties, and responsibilities; and it is

FURTHER RESOLVED, that the Board of Directors, having considered candidates for
CRO, hereby approves of the appointment of Neil Luria of SOLIC Capital Advisors, LLC as CRO,
and such other officers as the Board of Directors shall from time to time designate, with the
assistance of retained professionals as appropriate and necessary, be, and they hereby are,
authorized and empowered (i) to seek and pursue the financing needs of LHH, including debtor-
in-possession financing and exit financing in connection with any bankruptcy filing and (ii) to seek
alternate financing, including debtor-in-possession financing and exit financing in connection with
any bankruptcy filing, from any other source; and it is

FURTHER RESOLVED, that all acts and deeds previously performed by the Manager or
the Board of Directors in connection with the purposes of these resolutions, are hereby ratified,
approved and confirmed in all respects as actions of LHH; and it is

FURTHER RESOLVED, that the Board of Directors hereby direct that these resolutions
be included in the records of LHH, where such document shall be permanently maintained.

IN WITNESS THEREOF, the undersigned execute this instrument as of the 19th day of
January, 2017.

Certified by:

Cait Lune
Name: Rob Stilwell
Title: Board Member and Secretary

 
Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 11 of 13

Mam UCM aCe iiliCoLem com (e(etat Amite Mer t-1-

Debtor name LMCHH PCP LLC; Louisiana Medical Center and Heart Hospital, LLC

 

United States Bankruptcy Court for the: District of Delaware

Case number (If known):

 

 

Official Form 204

UJ Check if this is an
amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders [Consolidated]

12/15

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

' . Name of creditor and complete
mailing address, including zip code

MCKESSON TECHNOLOGIES INC.
P.O. Box 98347
Chicago, IL 60693

1500 S. Douglass Rd
Anaheim, CA 92806

 

P.O Box 409201
Atlanta, GA 30384

Dept #2067
P.O. Box 87618
Chicago, IL 60680

P.O Box 409201
Atlanta, GA 30384

 

BOSTON SCIENTIFIC (OPTIFREIGHT
CLIENT)

P.O. Box 951653

Dallas, TX 75395

“+ CONIFER HEALTH SOLUTIONS, LLC ~~

“(MEDTRONIC USA; ING. (VASCULAR) 7

“(MEDTRONIC SOFAMOR DANEK USA Julie Trombley —

Name, telephone inipiber: and
email address of Sroeltor
contact:

Kelly Buda
kelly.buda@mckesson.com

Fax: 404-338-5123

 

James Enna
1-615-346-4949

 

Julie Trombley
1-888-283-7868
julie. trombley@medtronic.com

Fax: 763-367-1404

FIRST FINANCIAL CORP. LEASING, LLC (Ariora Guillsaume

aguilleaume@ffcsi.com

1-800-328-2518
jjulie.trombley@medtronic.com

Fax: 763-367-1404

“| Chris Willams
1-888-272-9442
chris.williams@bsci.com

Fax: 508-382-9801

 

 

OWENS AND MINOR
P.O. Box 841420
Dallas, TX 75284

Michelle Ciark ~~
michelle.clark@owens-minor.com

Fax: 610-366-7385

 

STRYKER ~~
ORTHOBIOLOGICS(HOWMEDICA)
P,O, Box 93213

Chicago, IL 60673

 

‘Dawn Catena

 

 

 

 

 

 

 

dawn.catena@stryker.com

Fax: 201- 831- 3077

Nature of the claim. indicate it Amount of unsecured ‘claim 1B
(for.example, trade ‘claim is -\fthe claim is fully unsecured, fill:in‘only unsecured | :
debts; bank loans, contingent, | claim amount. If claim is partlally secured, fill in.
Pe ‘professional unliquidated, | total claim amount and deduction for valueof. =.
‘Services, arid ordisputed ‘collateral or setoff to calculate Unsécured. claim.
government Me : eS ao
contracts)
: Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or
ACCOUNTS setoff
PAYABLE 614,300.18)
ACCOUNTS ~ ~ An on
PAYABLE 525,829.72
ACCOUNTS cee need
PAYABLE 465,523.46
< ACCOUNTS pee worn Tes
PAYABLE 412,894.76
uo  1ACCOUNTS "> ~ S
PAYABLE 321,806.09
~ {ACCOUNTS OO |
PAYABLE 195,792.28
~~ "ACCOUNTS . =
PAYABLE 176, 170.69
“ACCOUNTS” - Tonmeseerres |
PAYABLE 167,554.36

 

 

 

 

 

 

 

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

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Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 12 of 13

LMCHH PCP LLC; Louisiana Medical Center and Heart Hospital, LLC

Name

Debtor Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of creditor and compléte Name, telephone number, and Nature of the claim: Indicate it "Amount of unsecured claim
mailing address, including zip code: email address of creditor (for. example; trade claim is if the claim is fully unsecured; fill in only Unsecured |
: : contact ee ‘debts; bank loans, contingent, claim amount. If claim is partially secured, fill in.
Sage = iPIOTRS Brel: unliquidated, ' total claim amount and deduction for value of
: ‘Services, and or disputed. | collateral or setoff to calculate unsecured claim.
\government i ioe :
- contracts)
= = | a8 Total claim, if Deduction for Unsecured
= . i . partially value of claim
t secured collateral or
a : ae setoff
~~ ABIOMED, INC David Conion " ACCOUNTS ee  165.055.00.
| P.O. Box 6214 978-777-5410 PAYABLE _—
9 Boston, MA 02212 dconlon@abiomed.com
ik Fax: 978-762-3590
Lee ween de eee a - - - a po
i , GIFTED NURSES, LLC Gregory Weaver Jr. ACCOUNTS 453,152.75
_ P.O. Box 202056 1-540-832-8985 PAYABLE a_—
+10: Dallas, TX 75320 gweaver@giftednurses.com
Do
| Fax: 504-831-2820
°"" BIOTRONIK, ING. ““YAngela Stanfield ‘ACCOUNTS ee 450,244.57
' | P.O. Box 205421 1-503-451-8167 PAYABLE ov
11 | Dallas, TX 75320 angela.stanfield@biotronik.com :
i i
: Fax: 503-451-8511 :
i; ABBOTT VASCULAR Paul Saurac ACCOUNTS | 433,513.36.
i 75 Remittance Drive PAYABLE —
112 | Suite 1138 saurav.paul1 @abbott.com i
i Chicago, IL 60675 |
| Fax: 855-326-0672
> K2M ING Renee Mirchandani ACCOUNTS - 498 900 G4.
' : Dept AT 952184 PAYABLE 125,208.94
:13 | Atlanta, GA 31192 rmirchandani@k2m.com i
{
~ ST. JUDE MEDICAL-PACESETTER Doris Lamoreaux ACCOUNTS 422.357 47,
CARDIAC RY 1 818-493-4157 PAYABLE mes
14 | 22400 NETWORK PLACE dlamoreaux@sjm.com i
CHICAGO, IL 60673-1224 i
MEDTRONIC USA - CARDIAC “| Julie Trombley ACCOUNTS ~ 490,835.73
PERFUSION PAYABLE _—
15 | P.O Box 409201 julie.trombley@medtronic.com
AManta, GA 30384 Fax: 763-367-1404
MICROPORT ORTHOPEDICS INC toni Moore ACCOUNTS ~~ "443,782.55
5677 Airline Road PAYABLE _—
16: Arlington, TN 38002 toni.moore@ortho.microport.com
Fax: 901-867-8438 i
STERIS CORPORATION Stephanie Signorino ACCOUNTS 7 110,425.18.
P.O. Box 676548 PAYABLE —_
17 | Dallas, TX 75267 stephanie_signorino@steris.com
Fax: 440-392-8945 :
~—TINSIGHT — Scott Mckee ACCOUNTS tO Ad,
P.O. Box 731069 PAYABLE 107,962.41
18 | Dallas, TX 75373 scott.mckee@insight.com
"| GENTINEL SPINE INC Alberto Espinoza ACCOUNTS oo 402,012.24
505 Park Ave PAYABLE —
19 | 14th Floor a.espinoza@centinelspine.com
New York, NY 10022 Fax: 212-826-9509
~~ {PHILIPS HEALTHCARE Joshua Borgman 7 ACCOUNTS ” , :
! P.O. Box 100385 PAYABLE 99.226.61 -
20 | Atlanta, GA 30384 joshua.borgman@philips.com i
: i
Le Le Seen _ a _ i

 

 

 

 

 

 

 

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

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Case 17-10353 Doc 1 Filed 01/30/17 Entered 01/30/17 22:59:04 Main Document Page 13 of 13

DECLARATION CONCERNING THE CONSOLIDATED LIST OF CREDITORS
HOLDING 20 LARGEST UNSECURED CLAIMS
AGAINST THE DEBTORS

I, Neil F. Luria, CRO of LMCHH PCP LLC and Louisiana Medical Center and
Heart Hospital, LLC, declare under penalty of perjury that 1 have reviewed the foregoing
Consolidated List of Creditors Holding 20 Largest Unsecured Claims Against the Debtors
and that the information contained therein is true and correct to the best of my information
and belief.

Dated: January 30, 2017

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Neil F’Luria, CRO

LMCHH PCP LLC
-and-
Louisiana Medical Center and Heart Hospital, LLC
